976 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Donald L. RICE, Plaintiff-Appellant,v.SHERIFF'S DEPARTMENT;  Buncombe County Jail;  Charles H.Long, Sheriff, Defendants-Appellees.
    No. 92-6685.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  August 31, 1992Decided:  September 23, 1992
    
      Appeal from the United States District Court for the Western District of North Carolina, at Asheville.  Richard L. Voorhees, Chief District Judge.  (CA-91-75-1)
      Donald L. Rice, Appellant Pro Se.
      Keith Spurling Snyder, Joe A. Connolly, BUNCOMBE COUNTY ATTORNEY'S OFFICE, Asheville, North Carolina, for Appellees.
      W.D.N.C.
      AFFIRMED.
      Before SPROUSE and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Donald L. Rice appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Rice v. Sheriff's Dep't, No. CA-91-75-1 (W.D.N.C. June 25, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    